          Case 5:21-cv-00126-JLS Document 58 Filed 06/09/21 Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



ERCOLE A. MIRARCHI,
                                                           :
                      Plaintiff,                           :       CIVIL ACTION
                                                           :
              vs.                                          :
                                                           :       No. 21-cv-00126
KATHY BOOCKVAR, et al.,
                                                           :
                      Defendants.                          :



                                          ORDER


       AND NOW, this                 day of                           , 2021, upon

consideration of the Motion of Defendant, Allegheny County Board of Elections, it is hereby

ORDERED and DECREED that the motion is GRANTED and Defendant, Allegheny County

Board of Elections, is hereby deemed to have joined in full the Motion to Dismiss filed by Centre

County, Dauphin County and Lackawanna County Boards of Elections (ECF No. 33) and to have

joined in part the Motion to Dismiss filed by Defendant Kathy Boockvar (ECF No. 49). Further,

it is hereby ORDERED and DECREED that Defendants’ Motions to Dismiss are GRANTED.


                                                           BY THE COURT:



                                                                                  U.S.D.J.
          Case 5:21-cv-00126-JLS Document 58 Filed 06/09/21 Page 2 of 5




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



ERCOLE A. MIRARCHI,
                                                             :
                       Plaintiff,                            :     CIVIL ACTION
                                                             :
               vs.                                           :
                                                             :     No. 21-cv-00126
KATHY BOOCKVAR, et al.,
                                                             :
                       Defendants.                           :



    ALLEGHENY COUNTY BOARD OF ELECTIONS’ MOTION TO JOIN IN
 CENTRE, DAUPHIN, AND LACKAWANNA COUNTIES BOARDS OF ELECTIONS’
  MOTION TO DISMISS (ECF No. 33) AND KATHY BOOCKVAR’S MOTION TO
   DISMISS (ECF No. 49) PLAINTIFF’S AMENDED COMPLAINT (ECF No. 26)


        Defendant, Allegheny County Board of Elections (“Allegheny County”), by and through

its undersigned counsel, hereby makes this motion to join in full the Motion to Dismiss (ECF No.

33) Plaintiffs’ Amended Complaint (ECF No. 26) filed by Centre County, Dauphin County, and

Lackawanna County Boards of Elections (“Centre County, et al.”) and to join in part the Motion

to Dismiss (ECF No. 49) filed by Defendant Kathy Boockvar, both of which are currently

pending before the Court. In support of this motion, Allegheny County states as follows:

   1.     On April 26, 2021, Defendants Centre County, et al. filed a Motion to Dismiss (ECF

Doc. 33) Plaintiffs’ Amended Complaint (ECF Doc. 26).

   2.     The Motion to Dismiss sets forth the reasons that Plaintiff’s claims must be dismissed

pursuant to Fed.R.Civ.P. 12(b)(1), 12(b)(5), and 12(b)(6).
          Case 5:21-cv-00126-JLS Document 58 Filed 06/09/21 Page 3 of 5




   3.       Allegheny County wishes to join in Centre County et al.’s Motion to Dismiss

Plaintiff’s Amended Complaint because the motion’s arguments apply with equal force to

Philadelphia County.

   4.       Allegheny County hereby adopts and incorporates by reference Centre County et

al.’s Motion to Dismiss (ECF No. 33), Brief in Support (ECF No. 34), and Reply in support of

the Motion (ECF No. 41).

   5.       On May 25, 2021, Defendant Kathy Boockvar filed a Motion to Dismiss (ECF No. 49)

Plaintiff’s Final Amended Complaint (ECF No. 26).

   6.       Defendant Boockvar’s Motion to Dismiss sets forth additional reasons that Plaintiff’s

claims must be dismissed pursuant to Fed.R.Civ.P. 12(b)(1) and 12(b)(6).

   7.       Allegheny County wishes to join in Defendant Boockvar’s Motion to Dismiss in part

because the motion’s arguments regarding (1) lack of standing, (2) mootness, (3) failure to state

a claim under the Crimes Code, and (4) failure to state a RICO claim apply with equal force to

Philadelphia County.

   8.       Allegheny County hereby adopts and incorporates by reference Defendant Boockvar’s

Motion to Dismiss (ECF No. 49) and Brief in Support (ECF No. 49-1) with regard to the

arguments enumerated in Paragraph 7.

   9.       This motion advances judicial economy and streamlines the procedural posture of this

matter because it avoids the need for Allegheny County to file a separate motion to dismiss that

sets forth duplicative arguments of those already made by Centre County et al. and Defendant

Boockvar.
           Case 5:21-cv-00126-JLS Document 58 Filed 06/09/21 Page 4 of 5




       WHEREFORE, Defendant Allegheny County respectfully requests its Motion to Join in

Centre County et al.’s and Defendant Boockvar’s Motions to Dismiss Plaintiffs’ Complaint be

granted.


Dated: June 9, 2021

                                          Respectfully submitted,

                                         /s/ Virginia Spencer Scott
                                         Virginia Spencer Scott
                                         Assistant County Solicitor
                                         Pa I.D. #61647

                                         ALLEGHENY COUNTY LAW DEPARTMENT
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                                          Counsel for Defendant Allegheny
                                          County Board of Elections
          Case 5:21-cv-00126-JLS Document 58 Filed 06/09/21 Page 5 of 5




                               CERTIFICATE OF SERVICE

       I hereby certify that, on the date set forth below, I served a true and correct copy of the

foregoing Motion To Join In Centre, Dauphin, And Lackawanna Counties Boards Of Elections’

Motion To Dismiss (ECF No. 33) And Kathy Boockvar’s Motion To Dismiss (ECF No. 49)

Plaintiff’s Amended Complaint (ECF No. 26) upon all counsel of record via ECF system and the

foregoing document is available for viewing and/or downloading pursuant to the Court’s ECF

system and is served pursuant to FRCP Rule 5(b) and Local Civil Rule 5.1.2. The undersigned

further certifies that a copy of the foregoing document was mailed via U.S. Mail to the person

listed below:

                             Mr. Ercole A. Mirarchi
                             1625 W. Ritner Street
                             Philadelphia, PA 19145


                                            /s/ Virginia Spencer Scott
                                            Virgnia Spencer Scott



Dated: June 9, 2021
